Case 1:21-cv-01829-TWP-TAB Document 8 Filed 07/13/21 Page 1 of 3 PageID #: 16




                  United States District Court
                                           for the
                                                                                  FILED
                            Southern District of Indiana                         07/13/2021
                                                                           U.S. DISTRICT COURT
                                                                         SOUTHERN DISTRICT OF INDIANA
                                                                            Roger A.G. Sharpe, Clerk

                                      Bradley Erhart,

                                          Plaintiff,

                                              v.

                                       Nancy Erhart,

                                         Defendant.




                              Case No. 1:21-cv-1829-TWP-TAB




Motion to Object and Oppose Defendant’s Notice of Extension of Time

                             to Answer or Otherwise Plead

Comes now the pro se Plaintiff, Bradley Erhart, who respectfully moves this court to deny

Defendant’s Automatic Initial Extension filed under Local Rule 6-1(a). In support of this

denial, Plaintiff states:

  1.   Defendant waited until last minute to contact Plaintiff requesting an extension. The

       Defendant’s counsel called Plaintiff at 12:10PM EDT on 07/13/2021, according to




                                         Page 1 of 3
Case 1:21-cv-01829-TWP-TAB Document 8 Filed 07/13/21 Page 2 of 3 PageID #: 17




       phone records, to see if he objects to the Automatic Initial Extension, in which

       Plaintiff was unavailable at that time.

  2.   Defendant claims that they emailed Plaintiff at 12:26PM EDT, however Plaintiff

       received the email from Defendant’s counsel at 1:44PM EDT stating they will be

       filing for Automatic Initial Extension AFTER the Notice of Extension had already

       been filed by Defendant.

  3.   Defendant only allotted less than 2 hours for Plaintiff to object, not giving Plaintiff

       adequate time.

  4.   Plaintiff contacted Defendant’s counsel at 3:17PM EDT via phone stating they

       affirmatively object to the extension, thus giving Defendant ample time to file a

       motion as required per Local Rule 6-1(c). Defendant’s counsel refused to file a

       motion stating that the court would grant them the extension regardless.

  5.   Defendant states in their Notice of Extension the reason for extension is because

       counsel only recently received the Complaint, failing to state how those reason(s)

       constitute good cause as required by Federal Rule of Civil Procedure 6(b).

  6.   Plaintiff in his complaint moves for expedited discovery due to concerns of

       Defendant continuing to damage and conceal property.

  7.   Plaintiff will be prejudiced if an extension is granted as he believes the actions in his

       complaint are still occurring.


Wherefore, Plaintiff Bradley Erhart respectfully requests based on these statements and,

hereby officially declaring his affirmative objection per Local Rule 6-1 and sent to the Clerk

of Court on this day, that this Court deny Defendant’s Automatic Initial Extension per


                                          Page 2 of 3
Case 1:21-cv-01829-TWP-TAB Document 8 Filed 07/13/21 Page 3 of 3 PageID #: 18




Federal Rules of Civil Procedure 12(a), 11(b), and 1. If no motion for extension is filed by

Defendant by the deadline of 11:59PM EDT on this day of July 13, 2021, it is kindly asked

that the court request the Clerk of Court to enter the Defendant’s default per Federal Rule

of Civil Procedure 55(a) and Local Rule 6-1(c).




I state under penalty of perjury that the foregoing is true and correct.


Executed on July, 13 2021.


Signature of Plaintiff: /Bradley Erhart/


Bradley Erhart

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                                           Page 3 of 3
